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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                               Judge Phillip S. Figa

Criminal Action No. 06-cr-00217-PSF

UNITED STATES OF AMERICA,

      Plaintiff,

v.

MICHAEL ANTHONY ROMERO,

      Defendant.


                     ORDER GRANTING MOTION TO CONTINUE
                      MOTIONS HEARING AND TRIAL DATES



      This matter is before the Court on the defendant’
                                                      s Unopposed Motion to

Continue Motions Hearing, Jury Trial, and Trial Preparation Conference (Dkt. # 39).

The Court notes that the defendant’
                                  s pretrial motions toll the calculation of time under

the Speedy Trial Act, and specifically 18 U.S.C. § 3161(h)(1)(F). Given the

uncontested representation regarding additional discovery in this case, the Court finds

the ends of justice served by granting the motion and that the continuances requested

outweigh the best interest of the public and the defendant in a speedy trial pursuant to

18 U.S.C. § 3161(h)(8). It is, therefore, ORDERED that the Motion is GRANTED and

the motions hearing/final trial preparation conference set for August 7, 2006, and the

four-day jury trial set for August 21, 2006 are VACATED. It is
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       FURTHER ORDERED that counsel for the parties shall call Chambers (303-335-

2174) no later than Monday, August 7, 2006 to reschedule the motions hearing and

trial dates.

       DATED: August 1, 2006

                                            BY THE COURT:

                                            s/ Phillip S. Figa
                                            ________________________________
                                            Phillip S. Figa
                                            United States District Judge




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